
In re Handley, Reginald Ray; — Defendant; Applying For Supervisory and/or Remedial Writs, Parish of E. Baton Rouge, 19th Judicial District Court Div. G, No. 06-73-5034; to the Court of Appeal, First Circuit, No. 2011 KW 0744.
[ granted in part; otherwise denied. The district court did not err in denying the motion to correct an illegal sentence and to resentence relator. However, the Department of Corrections is directed to provide relator with a parole eligibility date pursuant to the criteria in La. R.S. 15:574.4(A)(2), without regard to commutation of sentence by the Governer. See State v. Shaffer, 11-1756 (La. 11/23/11), 77 So.3d 939 (applying Graham v. Florida, *1011560 U.S. -, 130 S.Ct. 2011, 176 L.Ed.2d 825 (2010)).
JOHNSON, J., dissents and assigns reasons.
